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 1                        IN UNITED STATES DISTRICT COURT
 2
                           FOR THE DISTRICT OF COLORADO

 3
       Civil Action No.
 4

 5     STEPHEN HUGHS,
 6
             Plaintiff,
 7
              v.
 8

 9
       COMMERCIAL RECOVERY SYSTEMS, INC.,

10           Defendant.
11

12
                     COMPLAINT AND DEMAND FOR JURY TRIAL
13
             STEPHEN HUGHS (“Plaintiff”), by and through his attorneys, KIMMEL &
14

15     SILVERMAN, P.C., alleges the following against COMMERCIAL RECOVERY
16     SYSTEMS, INC. (“Defendant”):
17
                                      INTRODUCTION
18
             1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices
19

20     Act, 15 U.S.C. §1692 et seq. (“FDCPA”).
21
                               JURISDICTION AND VENUE
22
             2.     Jurisdiction of this court arises pursuant to 15 U.S.C. §1692k(d),
23

24
       which states that such actions may be brought and heard before “any appropriate

25     United States district court without regard to the amount in controversy,” and 28


                                               1

                                    PLAINTIFF’S COMPLAINT
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 1     U.S.C. §1331 grants this court original jurisdiction of all civil actions arising
 2
       under the laws of the United States.
 3
             3.     Defendant conducts business in the State of Colorado; as such,
 4

 5     personal jurisdiction is established.
 6
             4.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2).
 7
                                               PARTIES
 8

 9
             5.     Plaintiff is a natural person residing in Thorton, Colorado 80233.

10           6.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
11
       §1692a(3).
12
             7.     Defendant is a national debt collection company with its corporate
13

14     headquarters located at 8035 ERL Thornton Freeway, Suite 320, Dallas, Texas

15     75228.
16
             8.     Defendant is a “debt collector” as that term is defined by 15 U.S.C.
17
       §1692a(6), and repeatedly contacted Plaintiff in an attempt to collect a debt.
18

19           9.     Defendant acted through its agents, employees, officers, members,

20     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
21
       representatives, and insurers.
22
                                  FACTUAL ALLEGATIONS
23

24           10.    At all relevant times, Defendant was attempting to collect an alleged
25
       consumer debt.

                                                  2

                                        PLAINTIFF’S COMPLAINT
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 1           11.   The alleged debt at issue, a car loan, arose out of transactions that
 2
       were primarily for personal, family, or household purposes.
 3
             12.   By way of background only, on June 4, 2012, Plaintiff filed a previous
 4

 5     suit in the United States District Court for the District of Colorado against
 6
       Defendant alleging violations of the FDCPA. See Civil Action No. 1:12-cv-01455.
 7
             13.   On October 22, 2012, the Clerk for the District of Colorado entered a
 8

 9
       default against Defendant, and the matter was ultimately resolved by settlement.

10           14.   Further, in the previous case Defendant was notified that the
11
       undersigned represented Plaintiff, demanding all direct contact cease. See Exhibit
12
       A, Letter to Defendant.
13

14           15.   Defendant received this letter on April 9, 2012. See Exhibit B, USPS

15     Track & Confirm.
16
             16.   Despite having actual notice that Plaintiff was not to be contacted, and
17
       that was represented by counsel, Defendant resumed collection of the same
18

19     account in June 2013.

20           17.   Further, on at least one occasion, Plaintiff received a telephone call
21
       from Defendant’s collector and made it clear that he previously sued and did not
22
       wish to be contacted.
23

24           18.   In response, Defendant’s collector falsely and deceptively claimed
25
       that he was not prohibited from calling Plaintiff on behalf of Defendant because

                                                3

                                     PLAINTIFF’S COMPLAINT
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 1     Plaintiff had not sued him personally in the prior lawsuit. The collector then
 2
       proceeded to make demands for payment of the underlying debt.
 3
                           DEFENDANT VIOLATED THE
 4
                     FAIR DEBT COLLECTION PRACTICES ACT
 5
                                          COUNT I
 6

 7          19.   Defendant’s conduct, as detailed in the preceding paragraphs, violated

 8     15 U.S.C. §§1692c(a)(2) and 1692c(c).
 9
                   a. A debt collector violates §1692c(a)(2) of the FDCPA by
10
                      communicating with the consumer if the debt collector knows the
11

12                    consumer is represented by an attorney with respect to such debt
13                    and has knowledge of, or can readily ascertain, such attorney’s
14
                      name and address.
15
                   b. A debt collector violates §1692c(c) of the FDCPA by
16

17                    communicating with the consumer after the consumer notifies the
18
                      debt collector in writing that the consumer refuses to pay a debt or
19
                      that the consumer wishes the debt collector to cease further
20

21
                      communication with the consumer.

22                 c. Here, Defendant violated §§1692c(a)(2), and 1692c(c) of the
23
                      FDCPA by communication with Plaintiff after it knew that
24
                      Plaintiff was represented by counsel, and after it received written
25

                      notification demanding that it cease communication with Plaintiff.
                                               4

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 1            WHEREFORE, Plaintiff, STEPHEN HUGHS, respectfully prays for a
 2
       judgment as follows:
 3
                      a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
 4

 5                    b. Statutory damages of $1,000.00 for the violation of the FDCPA
 6
                         pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 7
                      c. All reasonable attorneys’ fees, witness fees, court costs and other
 8

 9
                         litigation costs incurred by Plaintiff pursuant to 15 U.S.C.

10                       §1693k(a)(3); and
11
                      d. Any other relief deemed appropriate by this Honorable Court.
12
                                  DEMAND FOR JURY TRIAL
13

14            PLEASE TAKE NOTICE that Plaintiff, STEPHEN HUGHS, demands a

15     jury trial in this case.
16
                                               RESPECTFULLY SUBMITTED,
17

18
       Date: September 6, 2013                 By: /s/ Craig Thor Kimmel
19
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                                       PLAINTIFF’S COMPLAINT
